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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF TEXAS
                               AUSTIN DIVISION

ROBERT LOGAN AS PERSONAL                            §
REPRESENTATIVE OF THE ESTATE OF                     §
LAURA ANN LOGAN-CEARLEY AND                         §
MARGUERITE BICKNELL-LOGAN,                          §
INDIVIDUALLY,                                       §
                                                    §
                          Plaintiff,                §
                                                    §      CAUSE NO.: 1:14-CV-452
V.                                                  §
                                                    §
EXPRESS SCRIPTS, INC. F/K/A MEDCO,                  §
INC.,                                               §

                          Defendant



             PLAINTIFFS’ NOTICE OF RULE 41A VOLUNTARY DISMISSAL

     1. Plaintiffs file their notice of dismissal under Federal Rule of Civil Procedure

        41(a)(1)(A)(i).

     2. Plaintiffs are Robert Logan as Personal Representative of the Estate of Laura Ann Logan-

        Cearley and Marguerite Bicknell-Logan, Individually.

     3. Defendant is Express Scripts, Inc. f/k/a Medco, Inc.

     4. On May 13, 2014, Plaintiffs sued Defendant.

     5. Defendant has been served with process and has not served an answer or a motion for

        summary judgment.

     6. This case is not a class action under Federal Rule of Civil Procedure 23, a derivative

        action under Rule 23.1, or an action related to an unincorporated association under Rule

        23.2.

     7. A receiver has not been appointed in this case.
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   8. This case is not governed by any federal statute that requires a court order for dismissal

       of the case.

   9. Plaintiffs have not previously dismissed any federal- or state-court suit based on or

       including the same claims as those presented in this case.

   10. This dismissal is without prejudice.


                                                    Respectfully submitted,




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                               CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing was filed and served on October 14, 2014 on the

Court’s CM/ECF system, which will automatically serve a Notice of Electronic Filing on all

attorneys of record.
